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VIA ECF
Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
                                                                                     April 3, 2020


                         Re:           Pacheco, et al. v. Presco Industries Inc., et al.
                                       Case No.: 19-cv-5485

Dear Judge Cogan:

       We write to request a 60 day stay on the above matter so that Defendants can find and
transition to new defense counsel. Tragically, Defendants' attorney of record in this matter
recently passed away due to the pandemic. Defendants will need this time given the current
situation to find and retain new counsel and have new counsel get up to speed and meet with
Plaintiffs' counsel to present a proposed revised discovery plan moving forward.

      This request is made upon consent of all parties.


                                                                                     Very truly yours,

                                                                                           /s/
                                                                                     David A. Robins
